      Case 3:17-cr-00278-KIN THE
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                                FOR THE NORTHERN DISTRICT OF TE                                 U.S. DISTRICT COURT
                                          DALLAS DIVISION                                 NORTHERN DISTRICT OF TEXAS
                                                                                                     FILED
UNITED STATES OF AMERICA                                  §
                                                          §
vs.                                                       §                       C SKNO.
                                                          §
TIFFANY GIDEON                                            §                               'i;E~ U.S.~tfCT COURT
                                                                                                      Deputy
                                     REPORT AND RECOMMENDATION
                                      CONCERNING PLEA OF GUILTY

        TIFFANY GIDEON, by consent, under authority of United States v. Dees, 125 F.3d 261 (5 1h Cir. 1997), has
appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to the One Count Superseding
Information, filed on August 1, 2017. After cautioning and examining Defendant Tiffany Gideon under oath
concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and
voluntary and that the offense charged is supported by an independent basis in fact containing each of the essential
elements of such offense. I therefore recommend that the plea of guilty be accepted, and that Defendant Tiffany
Gideon, be adjudged guilty of Use of a Facility of Interstate Commerce in aid of a Racketeering Enterprise, in
violation of 18 USC§ 1952(a)(3) and (A), and have sentence imposed accordingly. After being found guilty of the
offense by the district judge,


0       The defendant is currently in custody and should be ordered to remain in custody.

~The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear
        and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        ~The Government does not oppose release.
        (i/'/The defendant has been compliant with the current conditions of release.
        ~       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        0       The Government opposes release.
        0       The defendant has not been compliant with the conditions of release.
        0       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

0       The defendant must be ordered detained pursuant to 18 U .S.C.§ 3143(a)(2) unless (1 )(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
        shown under § 3 145(c) why the defendant should not be detained, and (2) the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        Signed August 15,2017.
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                                                          IRMA C. RAMIREZ
                                                          UNITED STATES MAGISTRATE JUDGE)

                                                      NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen ( 14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).
